     Case: 1:16-cv-07017 Document #: 20 Filed: 02/02/17 Page 1 of 2 PageID #:49



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


JOSE MALDONADO, on behalf of himself
and other similarly situated individuals,

              Plaintiff,

v.                                             Case No. 16-cv-7017

                                               Judge Jorge L. Alonso

                                               Magistrate Judge Young B. Kim


CF MANAGEMENT IL, LLC, d/b/a
XSPORT FITNESS,


              Defendant.



      ORDER OF APPROVAL OF SETTLEMENT AND ORDER OF DISMISSAL

       THIS CAUSE having come before the Court on the Parties’ Joint Motion for Court

Approval of the Settlement Agreement and Dismissal of Plaintiff’s Complaint, it is hereby:

       ORDERED AND ADJUDGED as follows:

       1.     This Court hereby grants the Parties’ Joint Motion for Court Approval of the

Settlement Agreement and Dismissal of Plaintiff’s Complaint.

       2.     After having reviewed the terms and conditions hereof, this Court hereby accepts

and approves the settlement reached between the Parties as a fair and reasonable settlement of a

bona fide dispute over the provisions of the Fair Labor Standards Act, Illinois Minimum Wage

Law and Illinois Wage Payment and Collection Act.




                                               1
     Case: 1:16-cv-07017 Document #: 20 Filed: 02/02/17 Page 2 of 2 PageID #:50



         3.    The lawsuit is hereby dismissed without prejudice, that will become with

prejudice twenty-one (21) days thereafter and after the required payments have been made, with

each party to bear their own attorneys' fees and costs except as otherwise agreed.

THIS CASE IS CLOSED.


ENTERED:




2/2/17                                       _______________________________
                                             Jorge L. Alonso
                                             United States District Judge




                                                2
